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 1
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 5
                           UNITED STATES DISTRICT COURT
 6
                               DISTRICT OF ARIZONA
 7
                                                     Case No:
 8
 9   FERNANDO GASTELUM,                                 VERIFIED COMPLAINT

10                                      Plaintiff,      1. Americans with Disabilities
                                                                      Act
11
                                                               2. Negligence
12                       vs.                                    3. Negligent
                                                               Misrepresentation
13   KUBER-RAMBDAS INVESTMENTS                              4. Failure to Disclose
14   LLC,                                                5. Fraud / Consumer Fraud

15                                   Defendant.          JURY TRIAL REQUESTED
16
17                                    INTRODUCTION
18   1. Plaintiff brings this action pursuant to the Americans with Disabilities Act, 42
19
        U.S.C. §12101 et seq. and corresponding regulations, 28 CFR Part 36 and
20
21      Department of Justice Standards for Accessible Design (“ADA”).
22   2. Plaintiff’s left leg is amputated below the knee. Plaintiff moves with the aid of
23
        a wheelchair or a prosthetic leg. Plaintiff suffers from a disability as this term
24
25      is defined in 42 U.S.C. 12102 and 28 CFR §36.105 (c)(1)(i) which includes,
26      inter alia, “walking, standing, sitting, reaching, lifting [and] bending” and other
27
28
 1      activities. A partial missing limb “substantially limit[s] musculoskeletal

 2      function” as a matter of law. 28 CFR § 36.105 (d)(2)(iii)(D).
 3
     3. Plaintiff is constantly and relentlessly segregated and discriminated against,
 4
 5      excluded, denied equal services, or otherwise treated differently than other

 6      individuals because of his disability, and has been denied the opportunity to
 7
        participate in or benefit from services, facilities and opportunities available
 8
 9      people without disabilities.

10   4. Plaintiff incorporates herein Congressional Findings and Purpose set forth in 42
11
        U.S.C. §12-101 and 28 CFR §36.101.
12
13   5. Plaintiff is being subjected to discrimination on the basis of disability in

14      violation of Subchapter III of the Americans with Disabilities Act or has
15
        reasonable ground to believe that that he is about to be subjected to
16
17      discrimination in violation of 42 U.S.C. §12183.
18   6. Plaintiff alleges that he has actual notice that Defendant has failed to comply
19
        with Subchapter III of the ADA, 28 CFR 36 and the 2010 Standards of
20
21      Accessibility Design (“2010 Standards”) as more fully alleged below.
22   7. Plaintiff alleges that he has no obligation to engage in futile gestures as
23
        referenced in 42 U.S.C. §12188(A)(1) and 28 C.F.R. Subpart E
24
25   8. Defendant has discriminated against Plaintiff by the following actions and
26      failures to act –
27
28

                                           2
 1      a. Failing to make reasonable modifications in policies, practices, or

 2         procedures which are necessary to afford Plaintiff and others similarly
 3
           situated accessibility to Defendant’s place of public accommodation, thus
 4
 5         violating 42 U.S.C. §12182(b)(2)(A)(ii) and 28 C.F.R. §36.302(a); and

 6      b. Failing to take such steps as may be necessary to ensure that no individual
 7
           with a disability is excluded, denied services, segregated or otherwise treated
 8
 9         differently than other individuals because of the absence of auxiliary aids

10         and services, thus violating 42 U.S.C. §12182(b)(2)(A)(iii); and
11
        c. Failing to remove architectural barriers where such removal is readily
12
13         achievable, thus violating 42 U.S.C. §12182(b)(2)(A)(iii), 28 CFR 36 and

14         the 2010 Standards..
15
                                         PARTIES
16
17   9. Plaintiff is a disabled person and a committed individual to advance the time
18      when places of public accommodations will be compliant with the ADA.
19
        Plaintiff resides in Casa Grande, Arizona.
20
21   10. Plaintiff’s disability includes the amputation of the left leg below the knee.
22      Plaintiff moves with the use of a wheelchair, walker and/or a prostethis.
23
     11. Defendant, KUBER-RAMBDAS INVESTMENTS LLC, D/B/A Hampton Inn
24
25      & Suites Tempe/Phoenix Airport owns and/or operates hotel at 1550 S. 52nd
26      Street, Tempe, AZ 85281,which is a public accommodation pursuant to 42
27
28

                                            3
 1      U.S.C. § 12181(7)(A) which offers public lodging services See 28 CFR §36.104

 2      and a listing of public accommodations in 42 U.S.C. §12181(7).
 3
                                      JURISDICTION
 4
 5   12. District Court has jurisdiction over this case or controversy by virtue of 28

 6      U.S.C. §§ 28-1331 and 42 U.S.C. § 12188 and 28 U.S.C. § 1367.
 7
     13. Plaintiff brings this action as a private attorney general who has been personally
 8
 9      subjected to discrimination on the basis of his disability, see 42 U.S.C.12188

10      and 28 CFR §36.501.
11
     14. Venue is proper pursuant to 28 U.S.C. § 1391.
12
13                        STANDING TO SUE JURISDICTION

14   15. Plaintiff reviewed 3rd party and 1st party lodging websites to book an
15
        ambulatory and wheelchair accessible room. Plaintiff was denied equal
16
17      opportunity to use and enjoyment of a critical public accommodation through
18      Defendant’s acts of discrimination and segregation alleged below.
19
     16. Plaintiff intends to book a room at the Defendant’s hotel once Defendant has
20
21      removed all accessibility barriers, including the ones not specifically referenced
22      herein, and has fully complied with the ADA.
23
     17. Because of Defendant’s denial of Plaintiff’s use and enjoyment of a critical
24
25      public accommodation through Defendant’s acts of discrimination and
26      segregation, he is deterred from visiting that accommodation by accessibility
27
        barriers and other violations of the ADA.
28

                                            4
 1   18. Defendant has denied Plaintiff -

 2         a. The opportunity to participate in or benefit from the goods, services,
 3
              facilities, privileges, advantages, or accommodations at its hotel.
 4
 5         b. The right to be included in the population at large who benefits from

 6            Defendant’s hotel without being segregated because his disability.
 7
     19. Plaintiff intends to book a room at Defendant’s hotel in the future but he will
 8
 9      likely suffer repeated injury unless and until the barriers of accessibility and

10      ambulatory and wheelchair accessibility barriers have been removed.
11
                            CONTINUING JURISDICTION
12
13   20. ADA violations which form the subject matter of this Verified Complaint

14      change frequently due to regular maintenance, remodels, repairs, and normal
15
        wear and tear.
16
17   21. Defendant’s ADA Violations are of the type that can reasonably be expected to
18      start up again, allowing Defendant to be free to return to the old ways' after the
19
        threat of a lawsuit had passed.
20
21   22. If one or more ADA violation are cured, Plaintiff alleges that they were cured
22      and timed to anticipate the current lawsuit, and not as a good faith effort to
23
        comply with the ADA.
24
25   23. To remedy the violations of 28 CFR 36.302(e), Defendant would be required
26      not only to modify all 1st and 3rd party lodging websites, but would be required
27
        to do so truthfully and accurately.
28

                                              5
 1
 2                                       COUNT ONE
 3
                     Violation of Plaintiff’s Civil Rights under the ADA
 4
 5   24. Plaintiff realleges all allegations heretofore set forth.

 6   25. By virtue of his disability, Plaintiff requires an ADA compliant lodging facility
 7
        particularly applicable to his mobility, both ambulatory and wheelchair assisted.
 8
 9   26. On or about February 7, 2018 Plaintiff intended to visit Phoenix and spend the

10      night there. He visited a 3rd party website www.expedia.com to book a room.
11
     27. 3rd party website disclosed general availability and description of Defendant’s
12
13      hotel.

14   28. 3rd party website failed to identify and describe mobility related accessibility
15
        features and guest rooms offered through its reservations service in enough
16
17      detail to reasonably permit Plaintiff to assess independently whether
18      Defendant’s hotel meets his accessibility needs.
19
     29. 3rd party website did disclose, “Accessibility If you have requests for specific
20
21      accessibility needs, please note them at check-out when you book your room.
22
        •   Accessible bathroom
23
        •   Roll-in shower
24      •   In-room accessibility”
25
     30. 3rd party website failed to disclose the following accessibility features in
26
27      enough detail to reasonably permit Plaintiff to assess independently whether

28      Defendant’s hotel and guest rooms meets his accessibility needs:

                                              6
 1   a. Whether accessible routes comply with § 206 of the 2010 Standards; and

 2   b. Whether operable parts on accessible elements, accessible routes and
 3
        accessible rooms comply with §§205 and 803 of the 2010 Standards; and
 4
 5   c. Whether any accessible means of egress comply with §207 of the 2010

 6      Standards.
 7
     d. Whether parking spaces comply with §§208 and 502 of the 2010
 8
 9      Standards; and

10   e. Whether passenger loading zones comply with §§209 and 503 of the
11
        2010 Standards; and
12
13   f. Whether any drinking fountains comply with §211 of the 2010 Standards;

14      and
15
     g. Whether any kitchens, kitchenettes and sinks comply with §§212 and 804
16
17      of the 2010 Standards; and
18   h. Whether toilet facilities and bathing facilities comply with §213 of the
19
        2010 Standards; and
20
21   i. Whether any washing machines and clothes dryers comply with §§214
22      and 611 of the 2010 Standards; and
23
     j. Whether accessible hotel rooms comply with §224 of the 2010 Standards;
24
25      and
26   k. Whether dining surfaces and work surfaces comply with §§226 and 902
27
        of the 2010 Standards; and
28

                                     7
 1   l. Whether sales and service elements comply with §227 of the 2010

 2      Standards; and
 3
     m. Whether any saunas and steam rooms comply with §§241 and 612 of the
 4
 5      2010 Standards; and

 6   n. Whether any swimming pools, wading pools and spas comply with
 7
        §§242 and 1009 of the 2010 Standards; and
 8
 9   o. Whether floor and ground surfaces comply with §302 of the 2010

10      Standards; and
11
     p. Whether changes in level comply with §303 of the 2010 Standards; and
12
13   q. Whether turning spaces comply with § 304 of the 2010 Standards; and

14   r. Whether floor and ground spaces comply with §305 of the 2010
15
        Standards; and
16
17   s. Whether knee and toes clearances comply with §306 of the 2010
18      Standards; and
19
     t. Whether protruding objects comply with §307 of the 2010 Standards; and
20
21   u. Whether the reach ranges comply with §308 of the 2010 Standards; and
22   v. Whether the operating parts on accessible features comply with §309 of
23
        the 2010 Standards; and
24
25   w. Whether accessible routes comply with §402 of the 2010 Standards; and
26   x. Whether walking surfaces comply with §403 of the 2010 Standards; and
27
28

                                   8
 1         y. Whether doors, doorways and gates comply with §404 of the 2010

 2             Standards; and
 3
           z. Whether ramps comply with § 405 of the 2010 Standards; and
 4
 5         aa. Whether curb ramps comply with §406 of the 2010 Standards; and

 6         bb. Whether any elevators comply with §407 of the 2010 Standards; and
 7
           cc. Whether any platform lifts comply with §410 of the 2010 Standards; and
 8
 9         dd. Whether any stairways comply with §504 of the 2010 Standards; and

10         ee. Whether handrails on elements requiring handrails comply with §505 of
11
               the 2010 Standards; and
12
13         ff. Whether the plumbing facilities comply with Chapter 6 of the 2010

14             Standards with respect to all the following subchapters of Chapter 6: §§
15
               602 (drinking fountains), 603 (toilets and bathing rooms), 604 (water
16
17             closets and toilet compartments, 605 (urinals), 606 (lavatories and sinks),
18             607 (bathtubs), 607 (shower compartments), 608 (grab bars), 610 (seats
19
               in bathtubs and shower compartments), and
20
21         gg. Whether service counters comply with 904 of the 2010 Standards.
22   31. Thereafter,   Plaintiff    consulted     Defendant’s     1st   party     website
23
        www.hamptoninn3.hilton.com to determine the information unavailable from
24
25      the third-party website.
26   32. 1st party website lists the following—
27
           For Your Accessibility Needs
28

                                            9
         The Following Features Are Available:
 1
 2   ▪   Accessible
     ▪   Accessible Rooms
 3   ▪   Accessible business center
 4   ▪   Accessible concierge desk
     ▪   Accessible elevators
 5   ▪   Accessible exercise facility
 6   ▪   Accessible guest rooms with mobility features with entry or passage doors
         that provide 32” of clear width
 7   ▪   Accessible meeting rooms
 8   ▪   Accessible parking
     ▪   Accessible parking spaces for cars in the self-parking facility
 9   ▪   Accessible public entrance
10   ▪   Accessible registration desk
     ▪   Accessible route from the accessible public entrance to the accessible
11       guestrooms
12   ▪   Accessible route from the accessible public entrance to the registration area
     ▪   Accessible route from the hotel’s accessible entrance to the meeting
13       room/ballroom area
14   ▪   Accessible route from the hotel’s accessible public entrance to the business
         center
15   ▪   Accessible route from the hotel’s accessible public entrance to the exercise
16       facilities
     ▪   Accessible route from the hotel’s accessible public entrance to the
17       swimming pool
18   ▪   Accessible swimming pool
     ▪   Alarms - Audible
19   ▪   Alarms - Visual Strobe
20   ▪   Automatic opening of bedroom door from the inside
     ▪   Bathroom doors at least 32 inches wide
21   ▪   Bedroom doors at least 32 inches wide (812mm)
22   ▪   Braille elevator
     ▪   Braille room numbers
23
     ▪   Closed captioning on televisions or closed captioning decoders
24   ▪   Doorbell w/ Audio/Strobe alert
     ▪   Hotel complies with ADA Guidelines
25
     ▪   Hotel complies with the Americans with Disabilities Act of 1990
26   ▪   Level or ramp entrance into the building
     ▪   Lower or Adjustable Closet Rod
27
     ▪   Lowered buttons in elevators
28   ▪   Lowered emergency evacuation instructions

                                        10
 1      ▪   Lowered light switches
        ▪   Lowered peep hole in door
 2      ▪   Lowered shelf storage
 3      ▪   Lowered sink
        ▪   Lowered thermostat controls
 4      ▪   Public Areas/Facilities accessible for physically challenged
 5      ▪   Roll-in Shower
        ▪   Rooms accessible to wheelchairs (no steps)
 6      ▪   Service support animals welcome
 7      ▪   Strobe alarms
        ▪   Swimming pool hoist for pool access
 8      ▪   TTY for guest use
 9      ▪   Van-accessible parking in the self-parking facility
        ▪   Visual alarm for hearing impaired
10      ▪   Visual alarms for hearing impaired in hallways
11      ▪   Visual alarms for hearing impaired in public areas
        ▪   Wheelchair ramp for lobby/reception access
12
            The Following Features Are Not Available:
13
14      ▪   Accessible route from the hotel’s accessible public entrance to at least one
            restaurant
15      ▪   Accessible route from the hotel’s accessible public entrance to the spa
16      ▪   Accessible transportation with advance notice
        ▪   Assistive listening devices for meetings upon request
17      ▪   Valet only parking
18
     33. Thereafter Plaintiff called Defendant’s hotel to inquire whether it was
19
20      compliant with the ADA and suitable for Plaintiff’s accessibility needs.

21   34. Plaintiff spoke with hotel reservations clerk, Jordan. Plaintiff specifically
22
        inquired whether Defendant’s hotel was compliant with the Americans with
23
24      Disabilities Act and compliant with the specific requirements of accessibility.

25   35. Reservations clerk responded that the hotel was compliant with the Americans
26
        with Disabilities Act.
27
28   36. The clerk also stated that the airport shuttle was not accessible.

                                            11
 1   37. Plaintiff subsequently visited the hotel to independently verify that it was, at

 2      least on the outside, suitable to accommodate his disability.
 3
     38. Plaintiff noted that the hotel was not compliant with the ADA and was replete
 4
 5      with accessibility barriers in the details which include, without limitation, the

 6      following areas of non-compliance:
 7
        a. 208.3.1. The accessible parking is not dispersed to all entrances.
 8
 9      b. 307.5. Bushes are protruding onto one accessible route reducing the required
10
           clear width to less than 36 inches.
11
        c. 309.4. The pool entrances requires a twisting of the wrist motion to open.
12
13      d. 309.4. The lobby restroom requires a twisting of the wrist motion to open.
14
        e. 403.3. Multiple accessible routes have a walking surface that is cross sloped
15
16         steeper than 1:48 inches.
17
        f. 502.2. The van accessible parking space has a width less than the required
18
19         minimum of 132 inches.
20
        g. 502.3.1. At least one access aisle had a clear width less than the required
21
22         minimum of 60 inches.

23      h. 502.4. At least one accessible parking space has across slope steeper than
24
           1:48 inches.
25
26      i. 502.6. Multiple signs used to mark accessible parking are lower than the
27
           required minimum of 60 inches.
28

                                           12
 1      j. 503.3. The passenger loading zone is not marked with an access aisle; and

 2      k. Other ADA violations to be discovered through a discovery process.
 3
     39. As a result of the deficiencies described above, Plaintiff declined to book a room
 4
 5      at the hotel.

 6   40. The removal of accessibility barriers listed above is readily achievable.
 7
     41. As a direct and proximate result of ADA Violations, Defendant’s failure to
 8
 9      remove accessibility barriers prevented Plaintiff from equal access to the

10      Defendant’s public accommodation.
11
     WHEREFORE, Plaintiff prays for all relief as follows:
12
13         A. Relief described in 42 U.S.C. §2000a – 3; and

14         B. Relief described in 42 U.S.C. § 12188(a) and (b) and, particularly -
15
           C. Injunctive relief order to alter Defendant’s place of public
16
17             accommodation to make it readily accessible to and usable by ALL
18             individuals with disabilities; and
19
           D. Requiring the provision of an auxiliary aid or service, modification of a
20
21             policy, or provision of alternative methods, to the extent required by
22             Subchapter III of the ADA; and
23
           E. Equitable nominal damages in the amount of $1.00; and
24
25         F. For costs, expenses and attorney’s fees; and
26         G. All remedies provided for in 28 C.F.R. 36.501(a) and (b).
27
28

                                            13
 1                                       COUNT TWO
                                          Negligence
 2
 3   42. Plaintiff realleges all allegations heretofore set forth.

 4   43. Defendant had a duty to Plaintiff to remove ADA accessibility barriers so that
 5
          Plaintiff as a disabled individual would have full and equal access to the public
 6
 7        accommodation.

 8   44. Defendant breached this duty.
 9
     45. Defendant is or should be aware that, historically, society has tended to isolate
10
11        and segregate individuals with disabilities, and, despite some improvements,

12        such forms of discrimination against individuals with disabilities continue to be
13
          a serious and pervasive social problem1.
14
15   46. Defendant knowingly and intentionally participated in this historical

16        discrimination against Plaintiff, causing Plaintiff damage.
17
     47. Discrimination against individuals with disabilities persists in the use and
18
19        enjoyment of critical public accommodations 2.
20   48. Defendant’s knowing and intentional persistence in discrimination against
21
          Plaintiff is alleged, causing Plaintiff damage.
22
23   49. Individuals with disabilities, including Plaintiff, continually encounter various
24        forms of discrimination, including outright intentional exclusion, the
25
26
     1
27       42 U.S.C. § 12101(a)(2)
     2
28       42 U.S.C. §12101(a)(3)

                                             14
 1        discriminatory effects of architectural, overprotective rules and policies, failure

 2        to make modifications to existing facilities and practices, exclusionary
 3
          qualification standards and criteria, segregation, and relegation to lesser
 4
 5        services, programs, activities, benefits, jobs, or other opportunities3.

 6   50. Defendant’s knowing and intentional discrimination against Plaintiff reinforces
 7
          above forms of discrimination, causing Plaintiff damage.
 8
 9   51. Census data, national polls, and other studies have documented that people

10        with disabilities, as a group, occupy an inferior status in our society, and are
11
          severely disadvantaged socially, vocationally, economically, and
12
13        educationally4.

14   52. Defendant’s knowing and intentional discrimination has relegated Plaintiff to
15
          an inferior status in society, causing Plaintiff damage.
16
17   53. The Nation’s proper goals regarding individuals with disabilities are to assure
18        equality of opportunity, full participation, independent living, and economic
19
          self-sufficiency for such individuals 5.
20
21   54. Defendant’s knowing and intentional discrimination has worked counter to our
22        Nation’s goals of equality, causing Plaintiff damage.
23
24
25
     3
26       42 U.S.C. §12101(a)(5)
     4
27       42 U.S.C. §12101(a)(6)
     5
28       42 U.S.C. §12101(a)(7)

                                              15
 1   55. Continued existence of unfair and unnecessary discrimination and prejudice

 2        denies people with disabilities the opportunity to compete on an equal basis and
 3
          to pursue those opportunities for which our free society is justifiably famous,
 4
 5        and costs the United States billions of dollars in unnecessary expenses resulting

 6        from dependency and nonproductivity6.
 7
     56. Defendant’s knowing and intentional unfair and unnecessary discrimination
 8
 9        against Plaintiff demonstrates Defendant’s knowing and intentional damage to

10        Plaintiff.
11
     57. Defendant’s breach of duty caused Plaintiff damages including, without
12
13        limitation, the feeling of segregation, discrimination, relegation to second class

14        citizen status the pain, suffering and emotional damages inherent to
15
          discrimination and segregation and other damages to be proven at trial.
16
17   58. By violating Plaintiff’s civil rights, Defendant engaged in intentional,
18        aggravated and outrageous conduct.
19
     59. The ADA has been the law of the land since 1991, but Defendant engaged in a
20
21        conscious action of a reprehensible character, that is, Defendant denied Plaintiff
22        his civil rights, and cause him damage by virtue of segregation, discrimination,
23
          relegation to second class citizen status the pain, suffering and emotional
24
25
26
27
     6
28       42 U.S.C. §12101(a)(8)

                                             16
 1      damages inherent to discrimination and segregation and other damages to be

 2      proven at trial
 3
     60. Defendant either intended to cause injury to Plaintiff or defendant consciously
 4
 5      pursued a course of conduct knowing that it created a substantial risk of

 6      significant harm to Plaintiff.
 7
     61. Defendant is liable to Plaintiff for punitive damages in an amount to be proven
 8
 9      at trial sufficient, however, to deter this Defendant and others similarly situated

10      from pursuing similar acts.
11
     WHEREFORE, Plaintiff prays for relief as follows:
12
13          A. For finding of negligence; and

14          B. For damages in an amount to be proven at trial; and
15
            C. For punitive damages to be proven at trial; and
16
17          D. For such other and further relief as the Court may deem just and proper.
18
19                                    COUNT THREE
20                                Negligent Misrepresentation
21   62. Plaintiff realleges all allegations heretofore set forth.
22
     63. Defendant failed to exercise reasonable care or competence in obtaining or
23
24      communicating the information regarding ADA compliance to Plaintiff both on
25      the websites and telephonically.
26
     64. Defendant hotel supplied false information to Plaintiff for guidance in
27
28      Plaintiff’s business transaction, to wit: the renting of a hotel room.

                                             17
 1   65. Defendant’s false statement was made in the course of Defendant’s business in

 2      which Defendant has a pecuniary interest, to wit: renting of rooms.
 3
     66. Plaintiff justifiably relied on Defendant’s false information.
 4
 5   67. Plaintiff has suffered pecuniary losses as a result of his reliance on Defendant’s

 6      false information regarding ADA compliance, to wit: he spent time, effort and
 7
        resources.
 8
 9   68. Defendant either intended to cause injury to Plaintiff or defendant consciously

10      pursued a course of conduct knowing that it created a substantial risk of
11
        significant harm to Plaintiff.
12
13   69. Defendant is liable to Plaintiff for punitive damages in an amount to be proven

14      at trial sufficient, however, to deter this Defendant and others similarly situated
15
        from pursuing similar acts.
16
17   WHEREFORE, Plaintiff prays for relief as follows:
18          A. For finding of negligent misrepresentation; and
19
            B. For damages in an amount to be proven at trial; and
20
21          C. For punitive damages to be proven at trial; and
22          D. For such other and further relief as the Court may deem just and proper.
23
24
                                        COUNT FOUR
25                                     Failure to Disclose
26
     70. Plaintiff realleges all allegations heretofore set forth.
27
28

                                             18
 1   71. Defendant was under a duty to Plaintiff to exercise reasonable care to disclose

 2      matters required to be disclosed pursuant to 28 CFR 36.302(e) as more fully
 3
        alleged above.
 4
 5   72. Defendant was under a duty to disclose matters to Plaintiff that Defendant knew

 6      were necessary to be disclosed to prevent Plaintiff to be misled by partial
 7
        disclosures of ADA compliance as more fully alleged above.
 8
 9   73. The compliance with the ADA is a fact basic to the transaction.

10   74. Defendant failed to make the necessary disclosures.
11
     75. As a direct consequence of Defendant’s failure to disclose, Plaintiff visited the
12
13      hotel, but did not book a room because of its non-compliance with the ADA.

14   76. Plaintiff has been damaged by Defendant’s non-disclosure.
15
     77. Defendant either intended to cause injury to Plaintiff or defendant consciously
16
17      pursued a course of conduct knowing that it created a substantial risk of
18      significant harm to Plaintiff.
19
     78. Defendant is liable to Plaintiff for punitive damages in an amount to be proven
20
21      at trial sufficient, however, to deter this Defendant and others similarly situated
22      from pursuing similar acts.
23
     WHEREFORE, Plaintiff prays for relief as follows:
24
25         A. For finding of that Defendant failed to disclose information; and
26         B. For damages in an amount to be proven at trial; and
27
           C. For punitive damages to be proven at trial; and
28

                                            19
 1          D. For such other and further relief as the Court may deem just and proper.

 2
 3                                   COUNT FIVE
 4                                       Fraud
                                 Common Law and Consumer
 5
 6   79. Plaintiff realleges all allegations heretofore set forth.

 7   80. Defendant made a representation as alleged above.
 8
     81. The representation was material.
 9
10   82. The representation was false.

11   83. Defendant knew that the representation was false or was ignorant to the truth or
12
        falsity thereof.
13
14   84. Defendant intended that Plaintiff rely on the false representation.

15   85. Plaintiff reasonably relied on the misrepresentation.
16
     86. Plaintiff has a right to rely on the misrepresentation.
17
18   87. Plaintiff was consequently and proximately damaged by Defendant’s
19      misrepresentation.
20
     88. Defendant’s misrepresentation was made in connection with the sale or
21
22      advertisement of merchandise with the intent that Plaintiff rely on it.
23   89. Renting of hotel rooms is “merchandise” as this term is defined in A.R.S. §44-
24
        1521(5).
25
26   90. Plaintiff relied on the misrepresentation.
27   91. Plaintiff suffered an injury resulting from the false misrepresentation
28

                                             20
 1   92. Defendant either intended to cause injury to Plaintiff or defendant consciously

 2      pursued a course of conduct knowing that it created a substantial risk of
 3
        significant harm to Plaintiff.
 4
 5   93. Defendant is liable to Plaintiff for punitive damages in an amount to be proven

 6      at trial sufficient, however, to deter this Defendant and others similarly situated
 7
        from pursuing similar acts.
 8
 9   WHEREFORE, Plaintiff prays for relief as follows:

10          A. For finding of that Defendant failed to disclose information; and
11
            B. For damages in an amount to be proven at trial; and
12
13          C. For punitive damages to be proven at trial; and

14          D. For such other and further relief as the Court may deem just and proper.
15
                               REQUEST FOR TRIAL BY JURY
16
            Plaintiff respectfully requests a trial by jury in issues triable by a jury.
17
18          RESPECTFULLY SUBMITTED this 10th day of February, 2018.
19                                        STROJNIK, P.C.
20
21
22                                        Peter Strojnik, 6464
                                          Attorneys for Plaintiff
23
24                                        VERIFICATION

25   Plaintiff verifies that he has read the forgoing and that the factual allegations stated above
     are true and correct to the best of his knowledge, information and belief. Plaintiff makes
26
     this verification under the penalty of perjury.
27
28                                        /s/ Fernando Gastelum

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     Authorized Electronically
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                         District
                                                __________ DistrictofofArizona
                                                                        __________
                     Fernando Gastelum
                                                                )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No.
                                                                )
                                                                )
        KUBER-RAMDAS                                            )
        INVESTMENTS LLC.                                        )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) KUBER-RAMDAS INVESTMENTS LLC.
                                       c/o Statutory Agent: RONDA STUMP YOUNG
                                       5455 LINDSEY ROAD
                                       FLAGSTAFF, AZ 86004




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                 Peter Strojnik
                                 Strojnik P.C.
                                 2375 E. Camelback Rd.
                                 Suite 600
                                 Phoenix, AZ 85016
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
2/12/2018                                                    www.azd.uscourts.gov/cgi-bin/generate_civil_js44.pl


                                               UNITED STATES DISTRICT COURT
                                                   DISTRICT OF ARIZONA


                                                      Civil Cover Sheet
  This automated JS-44 conforms generally to the manual JS-44 approved by the Judicial Conference of the United States in September
  1974. The data is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. The information contained
  herein neither replaces nor supplements the filing and service of pleadings or other papers as required by law. This form is authorized for
  use only in the District of Arizona.

    The completed cover sheet must be printed directly to PDF and filed as an attachment to the
                               Complaint or Notice of Removal.

                                                                                                     KUBER-RAMDAS INVESTMENTS
   Plaintiff(s): Fernando Gastelum                                               Defendant(s):
                                                                                                     LLC
   County of Residence: Pinal                                                    County of Residence: Maricopa
   County Where Claim For Relief Arose: Maricopa


   Plaintiff's Atty(s):                                                          Defendant's Atty(s):
   Peter Strojnik
   Strojnik P.C.
   2375 E. Camelback Rd. Suite 600
   Phoenix, Arizona 85016
   602-524-6602



  II. Basis of Jurisdiction:                     3. Federal Question (U.S. not a party)

  III. Citizenship of Principal
  Parties (Diversity Cases Only)
                            Plaintiff:- N/A
                          Defendant:- N/A

  IV. Origin :                                   1. Original Proceeding

  V. Nature of Suit:                             446 Amer. w/Disabilities - Other

  VI.Cause of Action:                            42 USC 12101

  VII. Requested in Complaint
                      Class Action: No
                   Dollar Demand:
                     Jury Demand: Yes

  VIII. This case is not related to another case.

  Signature: Peter Strojnik /s/
http://www.azd.uscourts.gov/cgi-bin/generate_civil_js44.pl                                                                                       1/2
2/12/2018                                                    www.azd.uscourts.gov/cgi-bin/generate_civil_js44.pl

         Date: 2/12/2018
  If any of this information is incorrect, please go back to the Civil Cover Sheet Input form using the Back button in your browser
  and change it. Once correct, save this form as a PDF and include it as an attachment to your case opening documents.

  Revised: 01/2014




http://www.azd.uscourts.gov/cgi-bin/generate_civil_js44.pl                                                                            2/2
